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                                               May 20, 2022
VIA CM/ECF

Honorable David J. Novak
U. S. District Court, Eastern District of Virginia
Walter E. Hoffman
United States Courthouse
600 Granby Street
Norfolk, VA 23510

       Re:     Campbell, et al. v. Intercontinential Capital Group, Inc.,
               No. 3:22-cv-00034-DJN

Dear Judge Novak:

       I represent the Defendant Intercontinental Capital Group, Inc. (“Defendant”) in the above
referenced action and write jointly with Plaintiffs regarding the status of this matter and to request
an extension of the stay in this matter until June 3, 2022.

        Since the Parties’ mediation on April 19, 2022, the Parties have been communicating
regarding financial documents Plaintiffs requested. As stated in the Parties previous letter,
Defendant has provided ICG’s audited financial statements for 2019, 2020 and 2021 and
preliminary financial information related to Q1 2022. In addition, Defendant has provided written
responses to Plaintiff’s follow up questions regarding the financial information. Plaintiffs have the
option to not move forward with the settlement upon reviewing the financial information. On
Wednesday, May 18, 2022, Plaintiffs’ counsel advised Defendant’s counsel that there were
concerns about the terms of the settlement as outlined at the settlement conference and were not
moving forward with the settlement. Accordingly, the Parties are exchanging proposals to modify
the terms and structure of settlement payments to satisfy Plaintiffs’ concerns.

       The Parties continue to be optimistic that they will be able to reach a final settlement and
kindly request that this matter be stayed until June 3, 2022, at which time the Parties will report
whether they have finalized settlement and will be seeking preliminary approval.

                                               Respectfully,




                                               Katharine Thomas Batista
                                               4856-9411-6641, v. 1
